Case 3:21-cv-08249-DLR Document 136-1 Filed 12/06/23 Page 1 of 4




               DAVIS EXHIBIT 1
          Declaration of Jenny L. Foley, Ph.D.
     Case 3:21-cv-08249-DLR Document 136-1 Filed 12/06/23 Page 2 of 4




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 9

10

11                         UNITED STATES DISTRICT COURT
12                               DISTRICT OF ARIZONA

13
     Audrey Davis,                                         Case No. 3:21-cv-08249-DLR
14
                 Plaintiff /
15               Counterclaim-Defendant,
                                                        DECLARATION OF JENNY L.
16      v.                                                   FOLEY, PH.D.
17 Rhondie Voorhees,

18               Defendant /
19               Counterclaim-Plaintiff,

20      and,

21 ERAU,

22               Defendant.

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                                                -1-
26                              Declaration of Jenny L. Foley, Ph.D.
                                       3:21-cv-08249-DLR
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     Case 3:21-cv-08249-DLR Document 136-1 Filed 12/06/23 Page 3 of 4




 1         I, Jenny L. Foley, Ph.D., hereby declare under penalty of perjury:

 2         1.     I am an attorney licensed in the States of Nevada and California.

 3         2.     I was a former attorney at Randazza Legal Group, PLLC (“RLG”), and I

 4 previously was counsel of record for Plaintiff Audrey Davis in this matter.
 5         3.     I submit this declaration in support of the parties’ Joint Statement of

 6 Dispute Regarding Reopening Discovery.

 7         4.     On July 11, 2023, I had a phone call with former Defendant Rhondie

 8 Voorhees’s counsel, Dan Warner, to discuss the possibility of a settlement agreement

 9 between Davis and Voorhees. This was the beginning of discussions that ultimately

10 resulted in a settlement agreement being executed on September 11, 2023.

11         5.     While I was discussing settlement with Attorney Warner, I noticed

12 Voorhees’s deposition for July 27, 2023. I was primarily handling the case at the time,

13 and so I planned to take the deposition.

14         6.     At the time Voorhees’s deposition was initially noticed, I had a surgery

15 scheduled for October 19, 2023. However, I was informed the procedure could be moved

16 up to July 13, 2023. The procedure was then unexpectedly scheduled for August 16, 2023

17 This had the effect of making it so that I was no longer available to conduct Voorhees’s

18 deposition on July 27.

19         7.     Because of my unavailability, I had to reschedule Voorhees’s deposition. In
20 coming up with new proposed dates for the deposition, I felt it would be beneficial to

21 reschedule it a week or two after the initial date so that Attorney Warner and I could

22 address some issues with the wording of the settlement agreement.
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                                                 -2-
26                               Declaration of Jenny L. Foley, Ph.D.
                                        3:21-cv-08249-DLR
27
     Case 3:21-cv-08249-DLR Document 136-1 Filed 12/06/23 Page 4 of 4




 1        8.     While the specific dates I offered for rescheduling Voorhees’s deposition

 2 were informed by the desire to revise the settlement agreement, I rescheduled it from July

 3 27 solely because of this unexpected scheduling issue regarding my upcoming surgery.

 4        9.     An initial version of the settlement agreement was executed on August 8,
 5 2023. However, very shortly thereafter, but before Dr. Voorhees deposition, Attorney

 6 Warner and I both felt that further revisions were necessary to the agreement, and so we

 7 continued to revise it after Voorhees’s deposition on August 9, 2023.

 8        10.    These revisions resulted in the settlement agreement signed by all parties

 9 on September 11, 2023.

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11        I declare under penalty of perjury that the foregoing is true and correct.

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13        Executed on this 6th day of December, 2023
                                                               /s/ Jenny L. Foley
14                                                             Jenny L. Foley
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26                               Declaration of Jenny L. Foley, Ph.D.
                                        3:21-cv-08249-DLR
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